Case: 2:11-cr-00010-GCS-EPD Doc #: 184-2 Filed: 09/26/14 Page: 1 of 4 PAGEID #: 2709

Exhibit A
ee ee |

Case: 2:11-cr-00010-GCS-EPD Doc #: 184-2 Filed: 09/26/14 Page: 2 of 4 PAGEID #: 2710
ONE KINGS LANE

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mapquest

Trip to:

[300-302] Brush Creek Rd
Warrendale, PA 15086

1.11 miles / 2 minutes

   

 

 

 

 

Notes
SAVE }
UP TO 7 () %
(D924 Sheraton Dr, Mars, PA 16046-9414
x 1. Start out going north on Sheraton Dr toward Freeport Rd. Map 0.2 Mi
0.2 Mi Total
oy 2. Take the 1st left onto Freeport Rd. Map 0.09 Mi
If you reach the end of Dutilh Rd you've gone about 0.2 miles too far 0.3 Mi Total
oy ear 3. Take the 1st left onto Perry Hwy / US-19 S. Map 0.4 Mi
\19) Eat'nPark is on the corner 0.7 Mi Total
ge 4. Turn right onto Brush Creek Rd. \Viap 0.3 Mi
Brush Creek Rd is 0.3 miles past Teddy Bear Ln 1.0 Mi Total
lf you reach Warrendale Village Dr you've gone about 0.8 miles too far
« 5. Take the 1st left to stay on Brush Creek Rd. Map 0.08 Mi
if you are on Thorn Hill Rd and reach Thorn Hill Dr you've gone about 0.3 miles too 1.1 Mi Total
far
eg 6. [300-302] BRUSH CREEK RD. Map

If you reach Allegheny Dr you've gone a little too far

0 [300-302] Brush Creek Rd, Warrendale, PA 15086
Driving DirechDRIBmMAL thEkrO@O IOs GG SyERD doe G Ho Soh; 2nilack: QOAREL AI Pagenenah+sPAGGEM #: 27:b19/12 6:10 pm

Total Travel Estimate: 1.11 miles - about 2 minutes

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ALLEGHENY

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qye2ii2 Case: 2:11-cr-QOOdQiG@esaRRiDOmbit d8dacbblediQs26é614 whaga: 4 of 4 PAGEID #: 2712

Comfort Inn Cranberry Twp. (paste)
924 Sheraton Drive, Mars, PA, US, 16046
Phone: (724) 772-2700 Fax: (724) 772-2710

Hotel Amenities: Pet Friendly

 

e Business Center « Fitness Center « High Speed internet « Laundry, Guest

Book here by Dec. 6, 2012 and get a $50 restaurant gift card for stays of three or more consecutive nights
at one hotel in the Pittsburgh, PA area. Click for details.

 

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tt

The Comfort Inn Cranberry Township, a Mars PA Hotel

The Comfort Inn® Cranberry Twp. is conveniently located near Interstates

76 and 79, just 20 minutes from Pittsburgh, the PNC Park ballpark, David

L. Lawrence Convention Center, Mellon Arena, Point Park

University and Pittsburgh International Airport. The Ross Park Mall is |
only 12 miles from this Mars, PA hotel,

Station Square is a short drive away and offers the perfect place for dining,
entertainment, unique shopping experiences and sightseeing. Enjoy

shopping at the Prime Outlets - Grove City, rated one of the top outlet |
centers in America. The Thomhill Industrial Park, Butler Auto Auction and |
the BladeRunners Ice Complex are within minutes from the hotel,

Shopping and business districts are located one mile away, A variety of
restaurants, cocktail lounges, night spots, business serices, malls and
specialty stores can be found in the surrounding area.

 

Guests of this Pennsylvania hotel will enjoy many amenities, including:

Comfort Inn Cranberry Township Hotel * Free high-speed Internet access
ts Free USA Today

* Free local calls
* Free 24-hour coffee and tea

* Exercise room

Your Morning Breakfast is full of hot and delicious options, making breakfast at the Comfort Inn Cranberry Twp. the perfect way to start your day. Enjoy our free
hot breakfast featuring eggs, meat, yogurt, fresh fruit, cereal and more, including your choice of hot waffle flavors!

Business travelers will appreciate conveniences like free wireless high-speed Internet access in the lobby, spacious work desks and access to copy
services. The conference room accommodates up to 14 people.

All spacious rooms at this Pennsylvania hotel include refrigerators, hair dryers and cable television with free HBO. Some rooms also feature coffee makers. In
addition, this Mars, PA hotel offers non-smoking rooms.

Coin-operated laundry facilities and one-day valet services are located on the premises. Pets are welcome with a small stay fee.

| The Comfort Inn Cranberry Twp. provides exceptional guest serices and superior amenities to anyone visiting the Mars area.

Pet accommodation: $20.00 USD stay. Pet Limit: 2 Pets, Per Room, 100 Ibs max . limit.

Hotel Details Points required for Choice Privilogos® roward night
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Check in time: 3:00 PM | Sep 16, 2012 - Nov 30, 2012: 16000

Check out 42-00 PM

time:

Dec 1, 2012 - Jan 31, 2013; 16000

Feb 1, 2013 - Apr 15, 2013: 16000
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